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                     UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


    DAVID COX,etal,

                       Plaintiffs           Case No. 3:14-cv-7573(MAS)(DEA)

                     vs.
                                            MOTION RETURNABLE:

                                            NOVEMBER 18,2019

    CHRYSLER GROUP,LLC,

                       Defendant.




      PLAINTIFF'S BRIEF IN SUPPORT OF MOTION FOR FINAL
           APPROVAL OF CLASS ACTION SETTLEMENT



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